        CASE 0:20-cr-00076-PAM-TNL Doc. 43 Filed 03/29/21 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

             TELEPHONE CONFERENCE MINUTE ENTRY

United States of America,                                    COURT MINUTES
                                                            BEFORE: Kate Menendez
                     Plaintiff(s),                            U.S. Magistrate Judge
 v.
                                                 Case No:       20-cr-76-PAM-KMM
Muhammad Masood,                                 Date:          3/29/21
                                                 Location:     Telephonic
                     Defendant(s).               Time Commenced:        8:30 a.m.
                                                 Time Concluded:        8:55 a.m.
                                                 Time in Court:         25 Minutes

APPEARANCES:

For Plaintiff:    Andrew R. Winter, Katie Sweeten, Timothy C. Rank
For Defendant:    Jordan S. Kushner

The Court held a telephonic status conference to discuss the scheduling of a
competency hearing in this matter. That proceeding will be held in person as soon as
practicable.

                                                s/Kathy Thobe
                                               Judicial Assistant/Calendar Clerk
